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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK



 SIGNIFY NORTH AMERICA CORPORATION
 and SIGNIFY HOLDING B.V.,
                                                       C.A. No. 1:19-CV-5516-DLC
                Plaintiffs,
          v.                                           JURY TRIAL DEMANDED

 AXIS LIGHTING INC.,

                Defendant.


           AXIS LIGHTING INC.’S NOTICE OF MOTION AND MOTION FOR
                              RECONSIDERATION

       PLEASE TAKE NOTICE that Defendant Axis Lighting Inc. (“Axis”), hereby moves this

Court for reconsideration of this Court’s Order (D.I. 126) denying Axis’ request to increase the

page limit on claim construction briefing and granting Plaintiffs Signify North America Corp. and

Signify Holding B.V.’s (collectively, “Signify”) request to limit the claim construction briefing to

eleven claim terms for construction. Axis refers to the Memorandum of Law submitted with this

motion.


December 9, 2020                                     Respectfully submitted,


                                                     _/s/ Cheryl T. Burgess_____________
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                               CERTIFICATE OF SERVICE

      The undersigned hereby states that the above was served on all counsel of record, via email,

this 9 December 2020.

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